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                        IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF KANSAS

 ROGER JAMES, individually, and on
 behalf of all others similarly situated,

         Plaintiff,

 v.                                                      Case No. 2:19-CV-02260-DDC-AGM

 BOYD GAMING CORPORATION, and
 KANSAS STAR CASINO, LLC,

         Defendants.

                 PLAINTIFF’S SECOND STATUS REPORT REGARDING
                     DISTRIBUTION OF SETTLEMENT NOTICES

        In Plaintiff’s Memorandum of Law in Support of Unopposed Motion for Approval of

FLSA Collective Action Settlement (Doc. 165) and Plaintiff’s Status Report Regarding

Distribution of Settlement Notices (Doc. 167), Plaintiff committed to supplementing the record on

May 20, 2022 regarding the distribution of settlement notices. Plaintiff states as follows:

        1.      On April 21, 2022, Analytics Consulting LLC sent notice of the proposed FLSA

settlement to 828 collective members (principally by email with some sent by U.S. Mail) advising

collective members of their rights with respect to the settlement, including, as relevant to this status

report, the right to object to the settlement.

        2.      No notices have been returned as undeliverable (whether by email or U.S. Mail)

since the filing of Plaintiff’s approval motion on May 5, 2022. Thus, the section of the brief

explaining efforts to locate the modest number of collective members whose notices were returned

as undeliverable is current and need not be supplemented. See Doc. 166 at pp. 12-13.
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       3.      The notice informed collective members that they would have 21 days from the

date of mailing (i.e., May 12, 2022) to object to the settlement, which could be done by email or

U.S. Mail. See Doc. 166-4 (template settlement notice showing means of lodging an objection).

       4.      Neither Plaintiff’s counsel nor Analytics Consulting LLC has received an objection

to the proposed settlement.

       5.      Given that the period to object expired on May 12, 2022, Plaintiff does not

anticipate any objections to the settlement and considers the motion for approval fully submitted.



Dated: May 20, 2022                          Respectfully submitted,

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                                             ATTORNEYS FOR PLAINTIFF




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                               CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2022, a true and correct copy of the foregoing document
was filed electronically through the Court’s CM/ECF system, and therefore, will be transmitted to
all counsel of record by operation of the Court’s CM/ECF system.


                                            By:     /s/ Alexander T. Ricke

                                                    ATTORNEY FOR PLAINTIFF




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